Case 2:17-cv-06108-MWF-JPR Document 177-1 Filed 01/20/21 Page 1 of 12 Page ID
                                 #:3594


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  6 Labrador Entertainment, LLC, Noel Palmer Webb,
    an individual and Webb Family Trusts
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  8
  9                        UNITED STATES DISTRICT COURT
 10           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 11
 12   BEATBOX MUSIC, PTY, LTD.,              )   Case No. 2:17-cv-6108-MWF (JPRx)
                                             )   Assigned to the Hon. Michael W.
 13                     Plaintiff,           )   Fitzgerald
                  vs.                        )
 14                                          )   Memorandum of Points and
      LABRADOR ENTERTAINMENT,                )   Authorities in Support of Motion for
 15   INC., DBA SPIDER CUES MUSIC            )   Joinder of Labrador Entertainment
      LIBRARY, a California corporation,     )   LLC under FRCP 25(c) by Labrador
 16                                          )   Entertainment, Inc. and Labrador
                     Defendants.             )   Entertainment, LLC
 17   _______________________________        )
                                             )   Judge: Hon. Michael W. Fitzgerald
 18                                          )   Date: 2/22/2021
       AND ALL RELATED ACTIONS               )   Time: 10:00 a.m. Pacific Time
 19                                          )   Location: Courtroom 5A
                                                 Complaint Filed: August 17, 2017
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 25   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
 26   JOINDER OF LABRADOR ENTERTAINMENT, LLC UNDER FRCP 25(c) BY
 27   LABRADOR ENTERTAINMENT, INC. AND LABRADOR ENTERTAINMENT, LLC
 28                                                                        Page 1 of 12
Case 2:17-cv-06108-MWF-JPR Document 177-1 Filed 01/20/21 Page 2 of 12 Page ID
                                 #:3595


  1                  MEMORANDUM OF POINTS AND AUTHORITIES
  2   I. INTRODUCTION
  3         Plaintiff Beatbox Music (“Beatbox”) claims that Defendant Labrador
  4   Entertainment, Inc. (“Labrador Inc.”) breached an April 1, 2009 music licensing
  5   agreement (the “Agreement”) that names those two entities as parties. Beatbox’s
  6   operative complaint (the “FAC”) accordingly revolves around a breach of contract
  7   claim and a related express indemnity claim against that entity, Labrador
  8   Entertainment Inc. FAC, ECF No. 105, ¶¶ 45, 42-50 [45-53], 59-65 [62-68].
  9         But Labrador Inc. is no longer Beatbox’s counterparty to that licensing
 10   agreement. After this litigation began, Labrador Inc. transferred all of its
 11   assets—including any and all of its interests under that Agreement—to a new entity,
 12   Labrador Entertainment, LLC (“Labrador LLC”). Labrador LLC is also a defendant in
 13   this case, but it is not currently a defendant to Beatbox’s contractual claims. The two
 14   Labrador entities—both of which have appeared in this lawsuit and both of which are
 15   represented by the same attorney—bring this motion to resolve this unnecessary
 16   ambiguity and join Labrador LLC as a defendant to Beatbox’s contractual claims.
 17         Federal Rule of Civil Procedure 25(c) directly address this situation. Under that
 18   rule, “[i]f an interest is transferred, the action may be continued by or against the
 19   original party unless the court, on motion, orders the transferee to be substituted in
 20   the action or joined with the original party.” FRCP 25(c). To ensure Beatbox would
 21   have adequate legal recourse against the correct Labrador entity if it were to
 22   ultimately prevail in this litigation—and to spare all parties and the Court the
 23   unnecessary ambiguity resulting from Beatbox’s claims as they are currently
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 25   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
 26   JOINDER OF LABRADOR ENTERTAINMENT, LLC UNDER FRCP 25(c) BY
 27   LABRADOR ENTERTAINMENT, INC. AND LABRADOR ENTERTAINMENT, LLC
 28                                                                                  Page 2 of 12
Case 2:17-cv-06108-MWF-JPR Document 177-1 Filed 01/20/21 Page 3 of 12 Page ID
                                 #:3596


  1   stated—the Labrador defendants hereby request under Federal Rule 25(c) that the
  2   Court join Labrador LLC as a defendant to Beatbox’s first cause of action (breach of
  3   contract) and third cause of action (express indemnity). This joinder serves the
  4   interests of all parties and of judicial efficiency.
  5   II. STATEMENT OF ISSUES TO BE DECIDED
  6         1. Whether Labrador Entertainment, LLC may be joined under Federal Rule of
  7   Civil Procedure 25(c) as a defendant to Beatbox’s breach of contract and express
  8   indemnity claims.
  9   III. ARGUMENT
 10         A. FRCP 25(c) allows actions “to continue unabated” after interests
 11   change hand.
 12         Federal Rule of Civil Procedure 25(c) reads as follows:
 13         (c) Transfer of Interest. If an interest is transferred, the action may be
 14         continued by or against the original party unless the court, on motion,
 15         orders the transferee to be substituted in the action or joined with the
 16         original party. The motion must be served as provided in Rule 25(a)(3).
 17         This rule “is not designed to create new relationships among parties to a suit
 18   but is designed to allow the action to continue unabated when an interest in the
 19   lawsuit changes hands.’” In re Bernal, 207 F.3d 595, 598 (9th Cir. 2000). Under Rule
 20   25(c), ‘[t]he transferee is not joined because its substantive rights are in question;
 21   rather, the transferee is brought into court solely because it has come to own the
 22   property in issue.’” Uniloc USA Inc. v. LG Elecs. U.S.A. Inc., No. 18-cv-06737-JST,
 23   2019 WL 690290, at *1 (N.D. Cal. Feb. 19, 2019) (quoting Minn. Min. & Mfg. Co. v.
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 26   JOINDER OF LABRADOR ENTERTAINMENT, LLC UNDER FRCP 25(c) BY
 27   LABRADOR ENTERTAINMENT, INC. AND LABRADOR ENTERTAINMENT, LLC
 28                                                                                Page 3 of 12
Case 2:17-cv-06108-MWF-JPR Document 177-1 Filed 01/20/21 Page 4 of 12 Page ID
                                 #:3597


  1   Eco Chem, Inc., 757 F.2d 1256, 1263 (Fed. Cir. 1985)).
  2         That is the situation here: Labrador Entertainment, LLC has “come to own” all
  3   rights and obligations under the April 1, 2009 music licensing agreement at issue, so
  4   it should be joined as an additional defendant to each of Beatbox’s two contractual
  5   claims.
  6         A cursory review of Beatbox’s operative complaint (FAC, ECF No. 105)
  7   confirms that this is the case. In that complaint, Beatbox first defined “Labrador” as
  8   only Labrador Entertainment, Inc.:
  9         Defendant LABRADOR ENTERTAINMENT, INC. D/B/A as SPIDER
 10         CUES MUSIC LIBRARY. (“Labrador”) is a California corporation with
 11         its central office located at 22400 Sentar Road, Woodland Hills,
 12         California 91364. Labrador was incorporated on October 17, 2000 and
 13         remains incorporated on the date this pleading is filed. FAC, ECF No.
 14         105, ¶2.
 15         Then, in that FAC’s very next paragraph, Beatbox directly acknowledged the
 16   transfer of “all assets” from Labrador Inc. to Labrador LLC:
 17         Defendant LABRADOR ENTERTAINMENT, LLC is a California
 18         corporation with its central address located at 23679 Calabasas Rd. Suite
 19         1087, Calabasas, CA 91302. LABRADOR ENTERTAINMENT, LLC
 20         was incorporated on October 31, 2016 and remains incorporated on the
 21         date this pleading is filed. Webb caused LABRADOR
 22         ENTERTAINMENT, INC. to transfer all of its assets to LABRADOR
 23         ENTERTAINMENT, LLC. and/or THE WEBB FAMILY TRUST after
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 25   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
 26   JOINDER OF LABRADOR ENTERTAINMENT, LLC UNDER FRCP 25(c) BY
 27   LABRADOR ENTERTAINMENT, INC. AND LABRADOR ENTERTAINMENT, LLC
 28                                                                              Page 4 of 12
Case 2:17-cv-06108-MWF-JPR Document 177-1 Filed 01/20/21 Page 5 of 12 Page ID
                                 #:3598


  1         becoming aware of the claims against Defendant Labrador which are the
  2         subject of this suit. FAC, ECF No. 105, ¶3
  3         Doubling down on the existence of this transfer later in its Complaint, Beatbox
  4   referred to “Defendant Labrador Entertainment, Inc.” as now “a mere shell and sham
  5   without capital, assets, stock, or stockholders.” Id., ¶ 76 [79](a).
  6         Despite these acknowledgments of the transfer—and despite its decision to
  7   name Labrador LLC as a defendant in its fifth cause of action (“Alter Ego Theory”;
  8   ¶¶ 75-77 [78-80]), seventh cause of action (“Fraudulent Conveyance At Common
  9   Law”; ¶¶ 81-84[84-87]), and eighth cause of action (“Fraudulent Conveyance Under
 10   California’s Uniform Fraudulent Transfer Act”; ¶¶ 86-93(89-97], Beatbox did not
 11   name Labrador LLC as a defendant in its first cause of action (“Breach of Contract”;
 12   ¶¶ 45, [42-50 [45-53], 59-65 [62-68].) or third cause of action (“Express Indemnity”;
 13   ¶¶ 59-65[62-68]). Instead, its contractual claims named only Labrador Inc. as a
 14   defendant and focused on the theory that it:
 15         . . . breached the contract by violating Section 16(iv) of the 2009
 16         Agreement which guaranteed that the compositions were original and
 17         that none of the compositions infringed any other copyright work or the
 18         rights of any third party. Id., ¶ 47 [50].
 19         Neither the transfer nor the LLC is mentioned anywhere in Beatbox’s two
 20   contractual claims. Given the full transfer of assets from Labrador Inc. to Labrador
 21   LLC—and Beatbox’s open acknowledgment of that transfer—this seems to be an
 22   oversight. Labrador LLC should be joined to these two claims as a codefendant.
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 26   JOINDER OF LABRADOR ENTERTAINMENT, LLC UNDER FRCP 25(c) BY
 27   LABRADOR ENTERTAINMENT, INC. AND LABRADOR ENTERTAINMENT, LLC
 28                                                                               Page 5 of 12
Case 2:17-cv-06108-MWF-JPR Document 177-1 Filed 01/20/21 Page 6 of 12 Page ID
                                 #:3599


  1         B. Under FRCP 25(c), a transferee entity may request to be joined as a
  2   defendant.
  3         Labrador LLC is not required to simply abide Beatbox’s erroneous choice of
  4   parties. In a FRCP 25(c) transfer-of-interest situation, “[t]he transferee has the option
  5   either to appear as a party of record or to allow the action to continue in the name of
  6   the transferor (and any judgment rendered accordingly).” SUBSTITUTION OF
  7   PARTIES, RUTTER GROUP PRACTICE GUIDE: FEDERAL CIVIL PROCEDURE
  8   BEFORE TRIAL, CALIFORNIA & 9TH CIR. EDITIONS, § 7:367 (April 2020
  9   Update) (emphasis in original). By way of this motion, Labrador LLC opts for the
 10   former: it wishes to appear as an additional party of record for Beatbox’s two
 11   contractual claims. The Labrador defendants consent to Labrador Inc. remaining a
 12   defendant to those contractual claims as well.
 13         C. District courts have considerable discretion in considering FRCP 25(c)
 14   motions.
 15         “If an interest is transferred, Rule 25(c) of the Federal Rules of Civil Procedure
 16   allows a court, on a motion, to order the transferee to be substituted in the action.”
 17   Copelan v. Techtronics Indus. Co., 95 F. Supp. 3d 1230, 1234 (S.D. Cal. 2015). “The
 18   decision to grant or deny substitution under Rule 25(c) rests within the sound
 19   discretion of the court.” Id., at 1235; see also Hyatt Chalet Motels, Inc. v. Salem Bldg.
 20   & Const. Trades Council, 298 F. Supp. 699, 704 (D. Or. 1968) (Rule 25(c) “gives the
 21   court a generous discretion in connection with the continuance of actions where there
 22   has been a transfer of an interest.”).
 23   ///
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 25   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
 26   JOINDER OF LABRADOR ENTERTAINMENT, LLC UNDER FRCP 25(c) BY
 27   LABRADOR ENTERTAINMENT, INC. AND LABRADOR ENTERTAINMENT, LLC
 28                                                                               Page 6 of 12
Case 2:17-cv-06108-MWF-JPR Document 177-1 Filed 01/20/21 Page 7 of 12 Page ID
                                 #:3600


  1         Courts readily employ this discretion to order substitutions when it is helpful to
  2   do so. In Copelan v. Techtronics Industries Co., Ltd., for instance, a district court
  3   considered whether to substitute in a bankruptcy trustee after the plaintiff who had
  4   brought the case filed for bankruptcy in bankruptcy court. Id., at 1233-34. There, the
  5   defendants opposed the substitution motion “on the grounds their [previously filed]
  6   motion to dismiss [wa]s still pending and substitution of the Trustee ‘does not change
  7   the fact that this case should be dismissed in its entirety on judicial estoppel
  8   grounds.’” Id., at 1235. The Court found that this was no obstacle to substitution,
  9   noting: “Undisputedly, the change is merely formal and does not alter the factual
 10   allegations in the lawsuit as to the events or the participants.” Id. The same is true
 11   here: adding Labrador LLC as a defendant is a “merely formal” change that does not
 12   indicate anything about liability or about the strength of Beatbox’s underlying claims.
 13   And unlike the situation in Copelan, there is not even a pending motion here that
 14   Beatbox might point to as grounds to oppose this motion.
 15         Elsewhere, in Hilbrands v. Far East Trading Co., Inc., an employee filed a
 16   lawsuit related to injuries she sustained during her employment. 509 F.2d 1321, 1322
 17   (9th Cir. 1975). As that lawsuit was pending, she received an award from the
 18   Workmen’s Compensation Commission, which subrogated her employer to her rights
 19   against the named defendant. Id. Noting that the transfer of interest occurred during
 20   the pendency of the action, the Court had no difficulty concluding that “Rule 25(c)
 21   governed” and that substitution could have been appropriate if the parties had been
 22   allowed to file a 25(c) motion. Id., at 1323. The Ninth Circuit reversed and remanded
 23   the case in-part, noting that doing would give the defendant the ability to “properly
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 26   JOINDER OF LABRADOR ENTERTAINMENT, LLC UNDER FRCP 25(c) BY
 27   LABRADOR ENTERTAINMENT, INC. AND LABRADOR ENTERTAINMENT, LLC
 28                                                                                Page 7 of 12
Case 2:17-cv-06108-MWF-JPR Document 177-1 Filed 01/20/21 Page 8 of 12 Page ID
                                 #:3601


  1   present a motion pursuant to Rule 25(c).” Id. Like the defendant in that case,
  2   Labrador LLC seeks substitution now that it has “properly present[ed] a motion
  3   pursuant to Rule 25(c).”
  4         Rule 25(c) substitutions can also be appropriate in situations involving
  5   business agreements between parties. 3 WRIGHT & MILLER, FEDERAL
  6   PRACTICE AND PROCEDURE, § 1958 (October 2020 Update) (FRCP 25(c)
  7   “applies to ordinary transfers and assignments, as well as to corporate mergers.”).
  8   Sun-Maid Raisin Growers of California v. California Packing Corporation is a
  9   particularly dramatic example of this. 273 F.2d 282, 283 (9th Cir. 1959). There, two
 10   companies settled a trademark lawsuit over their respective trademarks Sun-Maid and
 11   Sun-Kist. A decade later, one of the parties believed that the other was not honoring
 12   the settlement agreement, and it won an injunction on those grounds to continue to
 13   enforce the agreement. With the injunction active against it, the Sun-Kist then entity
 14   sold its interest in the SUN-KIST trademark to yet another entity. Id., at 283. After
 15   making that assignment, the new owner of the trademark moved to dissolve the
 16   injunction.
 17         The Ninth Circuit held that there was no reason to do so. It emphasized that
 18   “[t]he assignment of the trademark did not in and of itself cause all rights under the
 19   contract and injunction to vanish magically as in a puff of smoke.” Id., at 284. The
 20   same is true here: Beatbox will maintain its rights under the music licensing
 21   agreement at issue regardless of whether Labrador LLC is added as a defendant
 22   alongside Labrador Inc. The Ninth Circuit ultimately declined to join additional
 23   parties in the Sun-Maid case based on the unique circumstances of that
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 25   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
 26   JOINDER OF LABRADOR ENTERTAINMENT, LLC UNDER FRCP 25(c) BY
 27   LABRADOR ENTERTAINMENT, INC. AND LABRADOR ENTERTAINMENT, LLC
 28                                                                              Page 8 of 12
Case 2:17-cv-06108-MWF-JPR Document 177-1 Filed 01/20/21 Page 9 of 12 Page ID
                                 #:3602


  1   situation—doing so would have required revisiting a twenty-year-old order—but it
  2   continued to emphasize the role of district courts’ discretion to make 25(c) rulings,
  3   writing that “[s]ubstitution or joinder is not mandatory where a transfer of interest has
  4   occurred.” Id. Labrador requests that the Court exercise that discretion here to
  5   streamline resolution of this case.
  6         D. This motion is necessary, given Beatbox’s refusal to stipulate to this
  7   change.
  8         Motions under Federal Rule 25(c) are somewhat uncommon because parties
  9   generally stipulate to adjusting the parties named as defendants when it becomes
 10   appropriate to do so. This litigation has now gone on for several years, however, and
 11   it has grown rather contentious in that time. For whatever reason, Beatbox has
 12   continued to refuse to stipulate to add Labrador LLC as an additional defendant to its
 13   contract claims—despite Defendants’ request that it do so for the reasons described in
 14   this motion. Defendants’ attorney met and conferred with Beatbox’s attorney on these
 15   issues as required, but that meet-and-confer process unfortunately did not result in a
 16   stipulation. In the absence of any such stipulation, Labrador LLC had no choice but to
 17   file this motion to advance the issue.
 18         In its ruling on Labrador’s Motion for Judgment on the Pleadings, the Court
 19   already anticipated that the situation might reach this point. See Order Resolving
 20   Motion for Judgment on the Pleadings, ECF No. 176, at 5 (“Of course, the parties are
 21   free to stipulate to the joinder of Labrador Entertainment, LLC as a defendant to the
 22   breach of contract claim, or the Labrador Defendants may so move and allow Plaintiff
 23   an opportunity to object and discuss the issue in writing.”) While Labrador would
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 25   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
 26   JOINDER OF LABRADOR ENTERTAINMENT, LLC UNDER FRCP 25(c) BY
 27   LABRADOR ENTERTAINMENT, INC. AND LABRADOR ENTERTAINMENT, LLC
 28                                                                               Page 9 of 12
Case 2:17-cv-06108-MWF-JPR Document 177-1 Filed 01/20/21 Page 10 of 12 Page ID
                                  #:3603


   1   have preferred to resolve this matter without having to seek court intervention and
   2   litigate this motion, it will also not allow Beatbox’s intransigence to dictate which
   3   issues are and are not addressed in this lawsuit.
   4         Labrador appreciates that many Federal Rule 25(c) situations are much more
   5   complicated than this one. For instance, a new defendant may sometimes bring in new
   6   issues regarding personal and subject matter jurisdiction. But no such issues are
   7   present here, as both the transferor (Labrador Entertainment, Inc.) and transferee
   8   (Labrador Entertainment, LLC) are already named defendants facing potential
   9   liability should Beatbox ultimately prevail on its various claims. Both have appeared
  10   in this lawsuit, and there is no risk that any assets have been moved beyond the reach
  11   of Beatbox. There is simply no downside to this change, which serves the interests of
  12   both parties as they continue to litigate this matter.
  13         Even before Labrador initiated its most recent meet-and-confer process,
  14   Beatbox was already on notice that Labrador was interested in joining the LLC as an
  15   additional defendant. Labrador discussed the issue directly in its recent motion for
  16   judgment on the pleadings. ECF No. 170-1, at 14-15. In opposition, Beatbox raised
  17   only procedural objections:
  18         Defendants cite Federal Rule 25(c) in support of their argument that this
  19         Court may join Labrador Entertainment, LLC as a breach of contract
  20         defendant. Id. Neither Plaintiff nor Defendants have filed any motion
  21         seeking to join or substitute Labrador Entertainment, LLC as a breach of
  22         contract defendant herein. Accordingly, pursuant to Federal Rule 25(c),
  23         this action may be properly continued against Labrador
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  25   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
  26   JOINDER OF LABRADOR ENTERTAINMENT, LLC UNDER FRCP 25(c) BY
  27   LABRADOR ENTERTAINMENT, INC. AND LABRADOR ENTERTAINMENT, LLC
  28                                                                               Page 10 of 12
Case 2:17-cv-06108-MWF-JPR Document 177-1 Filed 01/20/21 Page 11 of 12 Page ID
                                  #:3604


   1         Entertainment, Inc., as pleaded in the FAC. See F.R.C.P. 25(c).
   2         Defendants cannot avoid the motion and service requirements of Rule 25
   3         by simply requesting joinder of Labrador Entertainment, LLC to
   4         Plaintiff’s breach of contract claims in the hope that this Court will
   5         further dismiss any equitable claims against Defendants in light of an
   6         asserted adequacy of Plaintiff’s remedies at law. ECF No. 172, at 9-10.
   7         Now that Labrador has addressed those issues by way of this motion, it is not
   8   readily apparent that Beatbox has any remaining objections to adding Labrador LLC
   9   as a defendant to its contract claims.
  10         E. Joining the LLC as a defendant serves the interest of judicial efficiency.
  11         As a final matter, Labrador notes that joining it as a defendant to Beatbox’s
  12   existing contract claims serves the interest of judicial efficiency. Once the joinder
  13   occurs, the parties will be able to work towards a more thorough and complete
  14   resolution of the claims between them and remove this matter from the Court’s
  15   docket. Labrador accordingly requests that the Court join the LLC as a defendant to
  16   Beatbox’s first cause of action (breach of contract) and third cause of action (express
  17   indemnity).
  18   IV. CONCLUSION
  19         During the pendency of this litigation, Labrador Entertainment, Inc. transferred
  20   its interest in the music licensing agreement that is at the core of this lawsuit to
  21   Labrador Entertainment, LLC. As the transferee of that interest, Labrador LLC may
  22   request under Federal Rule of Civil Procedure 25(c) to be joined as a defendant to the
  23   relevant contractual claims. It does so now: specifically, both Labrador defendants
  24
  25   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
  26   JOINDER OF LABRADOR ENTERTAINMENT, LLC UNDER FRCP 25(c) BY
  27   LABRADOR ENTERTAINMENT, INC. AND LABRADOR ENTERTAINMENT, LLC
  28                                                                                  Page 11 of 12
Case 2:17-cv-06108-MWF-JPR Document 177-1 Filed 01/20/21 Page 12 of 12 Page ID
                                  #:3605


   1   request that the Court join Labrador LLC as a defendant to Beatbox’s first claim
   2   (breach of contract) and related third claim (express indemnity). This joinder is proper
   3   and serves the interests of both parties, plus the interest of judicial efficiency.
   4
   5     January 20, 2021        LAW OFFICES OF DOUGLAS JOSEPH ROSNER
   6                                      /s/ Douglas J. Rosner
                                         _________________
   7                              By:    DOUGLAS J. ROSNER
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   9                                     Labrador Entertainment, Inc. dba
                                         Spider Cues Music Library,
  10                                     Labrador Entertainment, LLC, Noel Palmer Webb,
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  25   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
  26   JOINDER OF LABRADOR ENTERTAINMENT, LLC UNDER FRCP 25(c) BY
  27   LABRADOR ENTERTAINMENT, INC. AND LABRADOR ENTERTAINMENT, LLC
  28                                                                                 Page 12 of 12
